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         Exhibit D
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From: Cambridge Capital [mailto:info@cambridgecapitalgroup.holdings]
Sent: Tuesday, March 13, 2018 5:02 PM
To: Chris Seeger <CSeeger@seegerweiss.com>
Cc: TerriAnne Benedetto <TBenedetto@seegerweiss.com>; mbmblack8@gmail.com
Subject: In re NFL Players' Concussion Injury Litigation, No. 12‐md‐2323‐AB

Good Afternoon Mr. Seeger,

This e-mail is in response to the e-mail and the Federal Express envelope I received from you on Wednesday, March 7,
2018 and Monday, March 12, 2018 respectively.

Unfortunately, I am unable to respond to your request within the time allotted due to the volume of information you are
requesting and the availability of those assisting in providing the information. I am requesting to have this information
to you by March 26, 2018.

In addition, I have not been able to retain legal counsel and I'm requesting a postponement of the April 2, 2018 hearing
until I am able to obtain legal counsel to address the matters that are to be discussed at the hearing.

Your cooperation in honoring my request will be greatly appreciated.

Best Regards,
Gail Milon, CASL, CLTC                                                             Managing Vice

President                                                  Cambridge Capital
Group
 m   m   m   m   V
                                         Email: info@cambridgecapitalgroup.holdings




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